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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF MARYLAND

        CHAMBERS OF                                                           101 WEST LOMBARD STREET
  STEPHANIE A. GALLAGHER                                                     BALTIMORE, MARYLAND 21201
UNITED STATES DISTRICTJUDGE                                                          410 962-7780
                                                                          MDD_SAGchambers@mdd.uscourts.gov




                                                        November 30, 2021


  LETTER ORDER

          RE: Direct Benefits, LLC, et al v. TAC Financial Inc., et al.
              Civil Case No. SAG-13-1185

  Dear Counsel:

          Upon review of the two petitions for attorneys’ fees that were filed in this case, ECF 298
  and 301, it is evident that they are not organized in the format required by the Local Rules of this
  Court. Initially, the petitions purport to seek fees incurred in the litigation of a separate but
  tangentially related bankruptcy matter. Those fees are not recoverable in this litigation and should
  be excluded from the amended petition. With respect to the fees actually incurred in the litigation
  of this case, the Local Rules require that the applications “shall be submitted in the following
  format organized by litigation phase.” Loc. R. App’x B at 1.b (D. Md. 2021) (breaking out the
  appropriate litigation phases). The requirement that a party organize its billing statements in a
  chronological, litigation phase format is essential to permit this Court to assess, on an entry by
  entry basis, the appropriate lodestar calculation. In this case in particular, the number of entries
  reflecting attorneys in conferring with one another suggests that there will be a large number of
  duplicative billing entries, even across the various law firms involved. See Loc. R. App’x B at 2.d
  (D. Md. 2021) (“Generally, only one lawyer is to be compensated for client, third party, and intra-
  office conferences, although if only one lawyer is being compensated the time may be charged at
  the rate of the more senior lawyer.”). The culling of duplicative entries cannot rest with this Court,
  but should properly be performed by Plaintiff. Additionally, one attorney attempts to bill $23,750
  for hours “worked but not logged.” Those “guesstimated” entries are also impermissible and
  should be eliminated in their entirety from the amended petition.

          Several of the counsel in this matter have attempted to use some kind of “rough percentage”
  calculation in deciding which of their individual fees to claim. No matter the purported basis for
  determining the “percentage” used, that procedure does not accord with the lodestar calculations
  required by the Supreme Court and the Fourth Circuit. This Court fully intends to review each
  time entry to determine whether it should be included in the lodestar calculation, in whole or in
  part. Many of the attorneys’ entries use “block billing,” which may mean that those entries will
  be dramatically reduced or discounted in their entireties, in light of the relatively small portion of
  the effort in this case devoted to Mr. Gellene’s wage claims. For example, roughly 3 pages of the
  28 page Amended Complaint address the wage claims. The preliminary injunction briefing and
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almost all of the motions briefing related to the non-wage claims. Simply taking a percentage of
the billing entries is likely to grossly overrepresent the importance of the wage claims to this case,
and does not meet the standards required for this Court to award reasonable fees.

        In sum, the two pending petitions for attorneys’ fees, ECF 298 and 301, will be DENIED
without prejudice. Plaintiff will be given one final opportunity to file a single petition for
attorneys’ fees in accordance with the dictates of this Court’s Local Rules. The amended petition
should perform the culling function referenced above, should attach summary billing records
organized by date and litigation phase, not by individual law firm, and should request an amount
calculated by multiplying each attorney’s reasonable hourly rate by the number of hours the
attorney worked and documented on the wage claim only. TAC will then be afforded an
opportunity to respond to the amended petition and to seek deduction of its fees for its two prior
oppositions to the inadequate petitions. Plaintiff’s amended petition should be filed on or before
December 30, 2021, with TAC’s opposition due on or before January 20, 2022, and any reply due
on or before February 3, 2022.

        Despite the informal nature of this letter, it is an Order of Court and will be docketed as
such.

                                                      Sincerely yours,

                                                              /s/

                                                      Stephanie A. Gallagher
                                                      United States District Judge
